
BOWEN, Judge.
This is an appeal from the denial of a petition for post-conviction relief, wherein the petitioner challenges his 1988 guilty plea convictions for violating the Controlled Substances Act.
In his petition, the petitioner charges, among other things, that he was improper*1134ly sentenced under Alabama’s Habitual Felony Offender Act and not under the sentencing provisions of the Controlled Substances Act in violation of Ex parte Chambers, 522 So.2d 313 (Ala.1987). This allegation is meritorious on its face and stands unanswered. The petition was improperly denied as to this allegation. Ex parte Brannon, 547 So.2d 68 (Ala.1989); Stokes v. State, 555 So.2d 254 (Ala.Cr.App.1989). Therefore, the judgment of the circuit court denying the petition is reversed, and this cause is remanded to that court so that the merits of this allegation may be addressed.
REVERSED AND REMANDED.
All Judges concur.
ON RETURN TO REMAND
BOWEN, Judge.
On remand, an evidentiary hearing was held. The trial court resentenced the petitioner in accordance with Ex parte Chambers, 522 So.2d 313 (Ala.1987).
The order of the circuit court denying the petition for post-conviction relief is affirmed.
OPINION EXTENDED; AFFIRMED.
All Judges concur.
